

Matter of Little v Little (2019 NY Slip Op 06331)





Matter of Little v Little


2019 NY Slip Op 06331


Decided on August 22, 2019


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on August 22, 2019
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CENTRA, J.P., LINDLEY, NEMOYER, TROUTMAN, AND WINSLOW, JJ.


696 CAF 18-01399

[*1]IN THE MATTER OF MONICA LITTLE, PETITIONER-RESPONDENT-APPELLANT,
vSCOTT LITTLE, RESPONDENT-PETITIONER-RESPONDENT. VICTORIA L. KING, ATTORNEY FOR THE CHILDREN, APPELLANT. (APPEAL NO. 2.) 






CARA A. WALDMAN, FAIRPORT, FOR PETITIONER-RESPONDENT-APPELLANT.
VICTORIA L. KING, CANANDAIGUA, ATTORNEY FOR THE CHILDREN, APPELLANT PRO SE.
KAMAN, BERLOVE, MARAFIOTI, JACOBSTEIN &amp; GOLDMAN, LLP, ROCHESTER (GARY MULDOON OF COUNSEL), FOR RESPONDENT-PETITIONER-RESPONDENT. 


	Appeals from an order of the Family Court, Ontario County (Frederick G. Reed, A.J.), entered May 31, 2018 in a proceeding pursuant to Family Court Act article 6. The order granted the motion of respondent-petitioner insofar as it sought to vacate an order to show cause filed by petitioner-respondent to modify the parties' custody agreement. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of Little v Little ([appeal No. 1] — AD3d — [Aug. 22, 2019] [4th Dept 2019]).
Entered: August 22, 2019
Mark W. Bennett
Clerk of the Court








